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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA

DAVID RICE and ELIZABETH RICE, CASE NO. 3:20-cv-05223 RJB
individually and as a marital community,
and SETH DONAHUE,

Plaintiffs, VERDICT FORM

Vv.
Oty reel

CITY OF ROY, a Washington —t———==
municipality, and CHRIS JOHNSON,
individually,

Defendants.

 

 

 

 

We, the jury, unanimously find as follows:

 

1. On Plaintiff David Rice’s excessive force claim, we find for
Plains FE
(Write in “Plaintiff” or “Defendant Chris Johnson”)

2. On Plaintiff Seth Donahue’s excessive force claim, we find for
Plains FF

 

(Write in “Plaintiff” or “Defendant Chris Johnson”)
Answer Question 3 only if you found for a plaintiff on Questions 1 and/or 2.
3. On Plaintiffs’ ratification claim against the City of Roy, we find for

Plain nS

(Write in “Plaintiffs” or “Defendant City of Roy’)

 

 
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4.

5.

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On Plaintiff David Rice’s negligence claim we find for

Defendant Claris Sohnson

(Write in “Plaintiff” or “Defendant Chris Johnson’’)

 

On Plaintiff Seth Donahue’s negligence claim, we find for

Deferdonk CMeis WTohnsorn
(Write in “Plaintiff” or “Defendant Chris Johnson’)

 

Complete Questions 6 and 7 only if you found for Plaintiff on Question 4 and/or 5.

6.

On Defendants’ claim of contributory negligence against Plaintiff David Rice, we
find for

 

(Write in “Plaintiff or “Defendant Chris Johnson’)

On Defendants’ claim of contributory negligence against Plaintiff Seth Donahue,
we find for

 

(Write in “Plaintiff” or “Defendant Chris Johnson”)

Complete Questions 8 and 9 only if you found for the named plaintiff on
Questions 1 and/or 2 and/or 4 and/or 5.

8.

We find that Plaintiff David Rice’s total damages, not including punitive
damages, if any, caused by the excessive force and/or negligence of Defendant
Chris Johnson are

$ 2,208 , 000

We find that Plaintiff Seth Donahue’s total damages, not including punitive
damages, if any, caused by the excessive force and/or negligence of Defendant
Chris Johnson are

s 1,044, 000

 

 
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Complete Questions 10 and 11 only if you found for the named plaintiff on
Questions 1 & 2..

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12.

We find that Plaintiff David Rice <~$ Alot

 

(write in “is” or “is not’)

awarded punitive damages, and fix the amount, if any, at

$ LERO

(write in an amount or “zero”)

 

We find that Plaintiff Seth Donahue Ls Alo+

(write in “is” or “is not’’)

awarded punitive damages, and fix the amount, if any, at

$ 2220

(write in an amount or “zero”’)

On Plaintiff Elizabeth Rice’s consortium claim, we find her total consortium
damages to be

¢ ZERO

 

Complete Questions 13 and 14 only if you found for Defendant Chris Johnson on
Questions 6 and/or 7.

13.

14.

Assume that 100% represents the total combined negligence that proximately
caused Plaintiff David Rice’s damages. What percentage of the parties’
negligence is attributable to Mr. Rice?

%

 

Assume that 100% represents the total combined negligence that proximately
caused Plaintiff Seth Donahue’s damages. What percentage of the parties’
negligence is attributable to Mr. Donahue?

%

 

 
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Dated this YS) day of September, 2021.

 

Presiding Juror

 
